 

 

Case 2:21-cr-20634-DML-JJICG ECF No. 10, PagelD.17 Filed 10/12/21 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:21-cr-20634

UNITED STATES OF AMERICA Judge: Lawson, David M.
, MJ: Grey, Jonathan J.C.

Filed: 10-12-2021 At 11:32 AM

 

Plaintiff, INDI USA V. ARRINGTON (DA)
V. VIOLATIONS:
18 U.S.C. §§ 922(g)(1)
DARRIOUS ARRINGTON,
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm
On or about September 29, 2021, in the Eastern District of Michigan,
Darrious Arrington, knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, did knowingly and
unlawfully possess a firearm, that is, one SNZ SAR 9 and one Glock, Model 27,
said firearms having been shipped and transported in interstate and foreign

commerce, in violation of Title 18, United States Code, Section 922(g)(1).

 

Ss

 
 

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FORFEITURE ALLEGATION

The allegations contained in Count One of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to Title 18, United States Code, Section 924(d) and Title 28, United

States Code, Section 2461.

Upon conviction of the offense charged in Count One of this Indictment,

Defendant shall forfeit to the United States any firearm or ammunition involved in

said offense, pursuant to Title 18, United States Code, Section 924(d)(1) and Title

28, United States Code, Section 2461.

Saima S. Mohsin
Acting United States Attorney

s/ Benjamin Coats

BENJAMIN COATS
Chief, Major Crimes Unit
Assistant United States Attorney

s/ Tara Mathena Hindelang
TARA MATHENA HINDELANG
Assistant United States Attorney

Dated: October 12, 2021

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

 
 

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Case: 2:21-cr-20634

United States District Court Criminal Case C Judge: Lawson, David M.

Eastern District of Michigan MJ: Grey, Jonathan J.C.
Filed: 10-12-2021 At 11:32 AM

INDI USA V. ARRINGTON (DA)

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to cr

 

| | Companion Case Number:

  

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
Ll Yes No AUSA’s Initials; 9 “1 M4r

 

 

 

 

Case Title: USA v. Darrious Arrington

 

County where offense occurred: Wayne

 

Check One: Felony [Misdemeanor _]Petty
Indictment/ Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 2 1-mj-30469 ]

Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

Superseding to Case No: Judge:

 

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[ ]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

October 12, 2021 To

Date Tara Hindelang
Assistant United States Attorney

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Detroit, MI 48226-3277
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Fax: 313-226-2372

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Attorney Bar #; P78685

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16

 
